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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



United States of America,                          Case No. 21-cr-173 (PJS/DTS)

             Plaintiff,

v.                                                 ORDER

Anton Joseph Lazzaro (1),
also known as Tony Lazzaro,
also known as Tony,

             Defendant.



      Defendant Anton Joseph Lazzaro moves for Leave to File a Reply to Government’s

Filing No. 198 [Dkt. No. 200]. The government opposes the motion. Dkt. No. 201. The

Court, being duly advised in the premises, upon all the files, records, and proceedings

herein, IT IS HEREBY ORDERED:

      1.     Lazzaro’s Motion for Leave to File a Reply to Government’s Filing No. 198

[Dkt. No. 200] is GRANTED.

      2.     The Clerk of Court shall designate Dkt. No. 200-1 as Defendant’s Reply to

the Government’s Constitutional Vagueness Challenge Response.

      3.     Lazzaro shall not refile the Reply.




Dated: May 4, 2022                                 ___s/David T. Schultz_
                                                   DAVID T. SCHULTZ
                                                   United States Magistrate Judge
